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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

DEMETRIA BROOKS, et al,                       §
         Plaintiffs,                          §
                                              §
v.                                            §   Civil Action No. 4:22-cv-3322
                                              §   JURY TRIAL DEMANDED
HARRIS COUNTY SHERIFF’S                       §
OFFICE, et al,                                §
             Defendants.                      §

                        JOINT STATUS REPORT TO COURT

       The Parties appear to report on the status of the criminal investigation concerning the

use of force occurrence at issue in the case. Based on information provided by criminal

defense counsel for Defendant, Sgt. Hardin, the Parties understand that a Harris County

Grand Jury has indicted Defendant Hardin for murder and the criminal murder trial is

scheduled to begin on November 27, 2023. The State has filed a motion for continuance of

that trial date, and November 14, 2023, the criminal court will hold a status conference.

                                    Respectfully submitted,

                                    VIADA & STRAYER


                                    By:    /s/ Ramón G. Viada III
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                         and Sandra Brooks


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                         Attorney for Defendants Harris County, Harris County
                         Commissioners’ Court, Harris County Sheriff’s Office
                         and Judge Lina Hidalgo




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                            CERTIFICATE OF SERVICE

      I certify that all counsel of record have been served a true and correct copy of this
document by electronic submission for filing and service through the Electronic Case Files
System of the Southern District of Texas on November 10, 2023.


                                          /s/ Ramón G. Viada III
                                          Ramón G. Viada III




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